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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT                  June 24, 2022
                   FOR THE SOUTHERN DISTRICT OF TEXAS                Nathan Ochsner, Clerk
                            HOUSTON DIVISION


LEGACY CONTRACTORS, LLC,              §
                                      §
                   Plaintiff,         §
                                      §
v.                                    §           CIVIL ACTION NO. H-22-1555
                                      §
A&G REAL ESTATE AND                   §
CONSTRUCTION SERVICES, INC.           §
d/b/a SCG WEST,                       §
                                      §
                   Defendant.         §


                                 FINAL JUDGMENT

       In accordance with the Order of Dismissal Without Prejudice

for     Failure    to   Allege     Facts   Establishing      Subject      Matter

Jurisdiction, this action is DISMISSED WITHOUT PREJUDICE for lack

of subject matter jurisdiction.

       This is a FINAL JUDGMENT.

       SIGNED at Houston, Texas, on this 24th day of June, 2022.




                                              SIM LAKE
                                SENIOR UNITED STATES DISTRICT JUDGE
